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Attorney for Plaintiff
KESTREL OSHIN
UNITED STATED DISTRICT COURT
FOR THE DISTRICT OF OREGON
PORTLAND DIVISION

KESTREL OSHIN, an individual, Case No.: 3:16-cv-02219-BR

Plaintiff,
V. MOTION TO WITHDRAW REBECCA

CAMBRELENG AS PRO BONO COUNSEL

AMAZON.COM, et. al. OF RECORD FOR PLAINTIFF

Defendant(s).

 

 

Counsel for Plaintiff, Rebecca Cambreleng and Cambreleng Law LLC, moves this court
for an order allowing counsel to withdraw from representation in the above captioned case.
Counsel requests withdrawal based on conflicts with client.

Dated this 17th day of March, 2017.

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